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UN|TED STATES D|STR|CT COURT
VVESTERN D|STR|CT OF NEW YORK

 

LORRA|NE VANZ|LE
Plaintiffs,
v.
COMPLA|NT AND
DEMAND FOR
JURY TR|AL
ABSOLUT AT THREE RIVERS, LLC 18-CV-
and KELLY S|Vl|TH, individually
Defendants

 

Lorraine VanZile, by her attorney, Stan Nlatusz, Esq., alleges and avers as
follows:
NATURE OF CLA|M

1. This is a proceeding for declaratory relief and monetary damages to:
redress the deprivation of rights secured to the P|aintiff under the Fami|y
and |Vledica| Leave Act of 1993, 29 U.S.C. §§ 2601 et seq. (“F|VILA"), the
Americans With Disabi|ities Act, 42 U.S.C. § 12101, et seq. (“ADA”), and
the NeW York Human Rights Law, § 296 N.Y. Executive Law (“NYHRL”).

JUR|SP|CT|ON & VENUE

2. The original subject matterjurisdiction of this Court is invoked pursuant to
28 U.S.C. § 1331, 28 U.S.C. 1343 (3) and (4) conferring original
jurisdiction upon this Court of any civil action to recover damages or to
secure equitable relief under any Act of the Congress providing for the
protection of civil rights; under 28 U.S.C § 1337 conferring jurisdiction of

any civil action arising under any Act of Congress regulating interstate

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commerce; under the Dec|aratory Judgment Statute, 28 U.S.C. § 2201;
and 29 U.S.C. § 2601 et seq. and 42 U.S.C. §12101, et seq.
. Pendant jurisdiction of claims arising under the New York Human Rights
Law, § 296 N.Y. Executive Law, is also invoked under 28 U.S.C. §1367
because they arise from a common nucleus of operative facts with the
federal claims and are so related to the federal claims as to form part of
the same case or controversy under Artic|e |l| of the United States
Constitution.
. Venue is appropriate in the Western District of New York by virtue of 28
U.S.C. § 1391, since the allegations arose in the District, Defendants do
business within this District, Defendants employed the Plaintiff in this
Districtl P|aintiff resides in this Districts, and both the corporate and
individual Defendants are subject to personal jurisdiction in this District.
. F’|aintiff has satisfied all applicable administrative prerequisites for filing
this action under the ADA and NYHRL, including the timely filing of an
EEOC/NYSDHR Charge on October 17, 2017 (Charge No.: 525-2018-
00058), the receipt of a “Right to Sue Letter” on February 6, 2018, and the
filing of the instant Complaint with 90 days of the |atter.

PART|ES
. Plaintiff Lorraine VanZi|e is a resident of the State of New York, residing at
7 Speer Drive, Corning, NY 14870 in Steuben County. l\/ls. VanZile Was
employed by Defendants at a nursing horne in Painted Post, NY from

approximately August, 2012 until her termination on July 21, 2017.

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P|aintiff and Was an “emp|oyee” of Defendants, as defined under the
FlVlLA, ADA and NYHRL.

Defendant, Abso|ut at Three Rivers LLC, is a New York Limited Liabi|ity
Company with a principal office located at 300 Gleed Avenue, East
Aurora, NY 14052. Defendant operates multiple nursing home facilities,
including the facility located in Painted Post, NY where Plaintiff was
employed

Defendant, Kelly Smith, during the pertinent time frame leading up to the
events in this Complaint, was Defendant’s Director of Nursing_

Defendants engage in a business that employed Plaintiff, within the
definitions of both the F|VlLA and ADA.

FACTUAL BACKGROUND

10. !Vls. VanZile was hired by Defendant Absolut in August 20121 as “Activities

11.

Director." During the entire duration of her employment with Defendantl
her work performance was never in question, and she routinely received
praise for the same.

ln late 2016 and early 2017, Ms. VanZile began experiencing several
different physical issues ln early June 2017, |V|s. VanZi|e’s health
deteriorated markedly and she began experiencing dangerously high
blood pressure, dizziness, nausea and chronic vomiting. On some days,
Plaintiff could not stand, concentrate, eat, wa|k, breathe, remain conscious
or perform work. |V|s. VanZi|e’s physician preliminarily diagnosed the

underlying source of these medical conditions as a pulmonary condition.

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12.0n June 5, 2017, le. VanZile advised Joseph Tolpa, Defendant’s
Administrator, that she needed to apply for intermittent leave under the
FlVlLA to care for her medical conditions and receive treatment On that
same day, VanZile also spoke to Pam Biasi, Respondent’s HR Director, to
request FMLA papenivork. Oddly, lVls. Biasi told |V|s. VanZile that
Respondent “di`d not have any FMLA forms ” |V|s. VanZile found that
response to be confusing given the size of Defendant and the fact that it
had multiple facilities throughout the state.

13.During the ensuing weeks, |V|s. VanZi|e’s physical issues were
unremedied and worsening. However, Defendant did not furnish her with
any of the FN|LA forms she requested

14.0n June 29, 2017, VanZile met with her physicianl Kathleen Hallinan, lVlD.
When she told Dr. Hallinan that Defendant had still not provided her with
any F|VILA forms, Dr. Hallinan was alarmed and Wrote a letter, dated June
29, 2017, requesting that FiVlLA forms be provided so that l\lls. VanZile
could undergo medical testing and treatment for her conditions A copy of
the letter is annexed to this Complaint as Exhibit A. |Vls. VanZile gave a
copy of her physician’s letter directly to Human Resources on June 29th,
and she also told lVlr. Tolpa about the same.

15.A few days later, le. VanZile also notified Kelly Smith, Defendant’s
Director of Nursing, of her need for FlVlLA leave. le. Smith had just
stepped-in for |Vlr. Tolpa as |Vls. VanZile’s immediate supe_rvisor. |V|s.

VanZile informed le. Smith of her dangerous blood pressure levels ln

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fact, Defendant’s own nursing staff had been checking |V|s. VanZile’s
blood pressure at Work for several weeks and confirmed it was at
dangerously high levels When VanZile informed Smith of her need for
Fl\/ILA leave, lVls Smith rolled her eyes at |V|s. VanZile_ VanZile was
stunned by Smith's unprofessional reaction.

16.0ver the course of the next (3) three weeksl |V|s. VanZile’s health
deteriorated further1 and lVls. Smith’s treatment toward her changed
marked|y. Smith and VanZile had worked for many years together without
incident Yet after VanZile told Smith of her need for FlVlLA leave, Smith
would roll her eyes when |V|s. VanZile spoke up in meetings Smith would
also make critical and unwarranted comments about VanZile in front of
others

17.0n the Weekend of July 15 & 16, |Vls. VanZile’s blood pressure Was
dangerously high and she was vomiting. She had arranged to take off
from work on Monday, July 17th, by using one of her vacation days. On
the evening of that same day (the 17th), lV|s. VanZile received a call from
Defendant’s receptionistl Who advised her that the New York Department
of Health Was at the Defendant’s facility for a survey. le. VanZile
explained to the receptionist that she Was “very sick.” The receptionist
responded: “_you know this is not up for debate.”

lB.lVls. VanZile reported to work at around 6:40pm the night of July 17th
despite the fact that she was extremely ill. At work, she Was nauseous to

the point Where she was vomiting in the bathroom. While |Vls. VanZile was

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in the bathroom throwing up, lVls Smith came in screaming: “Lorn'e, where
are you!?!” VanZile was startled. lt turned out Defendant Smith was
yelling because she could not find a pizza pan. Smith Wanted to eat pizza
on her ride home from work.

19.Astonishingly, and despite the letter from lVls. VanZile’s physician,
Defendant had still not provided P|aintiff with any FMLA leave paperwork
as or July 17*“_

20.0n Tuesday, July 18l 2017, |V|s. VanZile was once again extremely ill with
the same symptoms but still managed to report to work at 7:00 am.

21 . lVls. VanZile did the same on Wednesday, July 19th, despite the fact that
she was gravely ill and should not have been working She reported to
work on those days because Defendants had not provided her with FlV|l_A
paperwork and because of le. Smith’s escalating hostile behavior toward
her made her concerned about taking a leave unilaterally

22.Later on V\leclnesday1 July 19"‘, Defendant Smith called VanZile into a
meeting. She began shouting; “Activity sucks!” “you [l/anzile] suck,” and
"my [Smith’s] ass is on fire and you can’t do anything about it because you
are an fdiot!” VanZile was stunned by Smith’s tirade. VanZile calmly
replied that she would give whatever documentation le. Smith needed to
help her with the state

23.0n Thursday, July 20, 20171 Defendants had still not provided |Vls. VanZile
with any FN|LA papenivork. On that same day, she once again reported to

work at 7:00 am even though she was extremely ill with the same

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symptoms described above. That day, Ms. VanZile spoke directly to the
state’s investigator. The investigator praised lVls. VanZile, saying: “I think
you are doing a great job here_” The state investigator also said that
Defendant’s Activities department “did a lot more than many other
facilities” and that she “was impressed.” |Vls VanZile relayed the content
of this conversation to Joe Tolpa, Kel|y Smith and Pam Hopkins (QA
Nurse).

24. lVls. VanZile again reported to Work on Friday, July 21, 2017. Once again,
she was still experiencing severe blood pressure issues and constant
nausea. As of that morning, she had still not received any FlVlLA
papen/vork from Defendant

25.That same day (the 21St), Defendant Smith called |Vls. VanZile in to a
meeting with Smith and Cindy Hood (Assistant Director of Nursing).
Defendant Smith again screamed at |V|s. VanZile and called her an “idiot”
and “incompetent.” Smith then said: “The state said you did a horrible
job.” When VanZile began to protest the truth of what Smith was saying1
Smith yelled: “Dro,o your badge and get the fuck out of my building!”

26_ll/ls. VanZile left work and returned home that very same day (Ju|y 21,
2017). When she arrived home, she found the FlVlLA papenNork from
Defendant’s Corporate Oche in her mail box. Defendant had mailed the
FN|LA paperwork to her horne address rather than giving it to her at work.

The Fl\ilLA paperwork was dated July 17, 2017 and falsely stated that le.

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VanZile requested FlVlLA leave “on or about July 17, 2017.” A copy of the
FMLA paperwork is annexed to this Complaint as Exhibit B.

27_The F|VlLA papenivork arrived forty-six (46) days after P|aintiff had first
requested leave and hours after she was terminated by Defendant

28.Shortly after her termination1 |V|s. VanZile learned that Defendant Ke|ly
Smith was overheard talking about her on Thursday, July 20th -- the day
prior to her termination. Defendant Smith described |Vls. VanZile as “a
crazy iunatic and has too many issues ”

29.Just weeks before iV|s. VanZile was fired, she had personally overheard
Defendant Smith talking about a fired LPN’s mental health in a
disparaging way_

30.Plaintiff VanZile never had any issues with |V|s. Smith, performance-wise
or personally, until she disclosed her medical condition and need for
intermittent FlVlLA leave and reasonable accommodation under the ADA
and NYHRL.

31.The purported explanation for lVls. VanZile’s termination was false and a
pretext for retaliating against her for the exercise of her rights under the
Fl\/lLA, ADA and NYHRL. Defendant Smith lied when she claimed the
state said lVls. VanZile had done a horrible job. The state’s records
demonstrate this fact

32.The actions of Defendants caused lVls. VanZile significant and

documented physical and emotional damage that required treatment and

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counseling during the time that Defendants were interfering with her effort
to seek FlVlLA leave an accommodation

33.Defendants’ discriminatory and retaliatory firing of l\ils. VanZile caused
additional and significant physical and emotional damage that required
treatment and counseling, post-termination

34.I\/ls. VanZile also sustained a lengthy period of unemployment and was
unable to obtain comparable employment in her chosen field despite a
diligent search. U|tirnately, because of the economic strain caused by
Defendants’ unlawful actions she was forced to take a position that pays
her several less dollars per hour.

35.Defendants’ actions Were deliberate, willful, and designed to harm lVls.
VanZile.

36.lndeed, Defendants willfully refused to allow lVls. VanZile to care for her
serious health condition in the hope that le. VanZile would become too ill
to work and/or would quit

37.Defendant Smith’s egregious actions make her subject to individual
liability under the ADA, FlV|LA and New York Human Rights l_aw.

AS AND FOR A FIRST CLAIM: FMLA RETAL|AT|ON

38. P|aintiff realleges the above paragraphs as if fully restated herein.

39.Plaintiff was an employer of Defendants for over one year and worked
greater than 1,250 hours in the twelve month period prior to her request

for FlVlLA leave.

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40.Defendant Absolut is an entity that engages in commerce or an industry
affecting commerce as defined by 29 U.S.C. § 2611(4)(A), and employs
more than 50 employees Within 75 miles of plaintist former Worksite.

41.Plaintiff VanZile suffered from a serious medical condition, requested
intermittent FlVlLA leave because of that serious health condition, and was
entitled to take FMLA leave because of that condition.

42.Plaintiff exercised her FlVlLA rights by giving notice to the Defendants of
her need to take FlVlLA leave.

43. Defendants terminated plaintiff within weeks of the request for Fl\/lLA leave
after deliberately stalling, obstructing and interfering with her request for
FlVlLA leave. The termination occurred under circumstances giving rise to
an inference of retaliatory intent

44_Defendants' purported explanation given for Plaintiff’s termination was
pretextual, and masked a willful attempt to retaliate against |V|s. VanZile
based on her attempt to exercise of her FlVlLA rights

45.Alternatively, plaintiffs request for FlVlLA leave was a motivating factor in
Defendants’ decision to fire her.

46.As a direct and proximate result of the retaliatory conduct in violation of
the FlVlLA, |V|s. VanZile suffered (and continues to suffer) from physical
injury, mental anguish and emotional distress including but not limited to,
depression, humiliation, embarrassment stress and anxiety, loss of self-
esteem and self-confidence, and emotional pain and suffering for which

she is entitled to monetary damages and other relief.

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47.As a direct and proximate result of Defendants’ unlawful acts, plaintiff

suffered the loss of her job, wages, and benefits

48.The foregoing conduct of Defendants constitutes willful violations of the
FlVlLA for which P|aintiff is entitled to an additional amount as liquidated

damages

49.F’laintiff is also entitled to reasonable attorneys’ fees, costs and
disbursements of this action1 and further legal and equitable relief as may

be appropriate under the FlVlLA.

AS AND FOR A S§CONMAIM: FMLA INTERFERENCE

50. Plaintiff realleges the above paragraphs as if fully restated herein

51 . P|aintiff realleges the above paragraphs as if fully restated herein

52.Plaintiff was an employee of Defendants for over one year and worked
greater than 1,250 hours in the twelve month period prior to her request
for FlVlLA leave.

53.Defendant Absolut is an entity that engages in commerce or an industry
affecting commerce as defined by 29 U.S.C. § 2611(4)(A), and employs
more than 50 employees within 75 miles of plaintist former worksite.

54. P|aintiff VanZile suffered from a serious medical condition requested
intermittent FlVlLA leave because of that serious health condition and was
entitled to take FlVlLA leave because of that condition.

55. P|aintiff VanZile gave notice of her right to take FML.A leave.

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56.As a direct and proximate result of her request for Fl\/ll_A, Defendants
willfully interfered with plaintiffs’ request for FlVlLA leave by, among other

things failing to ask plaintiff for certification within a timely fashion

57. P|aintiff was prejudiced by Defendants’ delay and processing of her FlVlLA
leave requestl As a direct and proximate result of the interference with
her FlVlLA rights l\/ls. VanZile suffered exacerbated physical injuries
mental anguish, emotional distress depression humiliation,
embarrassment stress and anxiety, loss of self-esteem and self-
confidence, and emotional pain and suffering for which she is entitled to

monetary damages and other relief.

58.As a direct and proximate result of the unlawful interference with her
FlVlLA rights |V|s. VanZile suffered economic harm for which she is entitled

to back pay, reinstatement and/or front pay, and other relief.

59.The interference with Plaintiffs’ FlVll_A rights was a willful violation of the
FlVlLA for which Plaintiff is entitled to an additional amount as liquidated

(double) damages

60.P|aintitf is also entitled to reasonable attorneys’ fees costs and
disbursements of this action, and further legal and equitable relierc as may

be appropriate under the FlVlLA.

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AS AND FOR A TH|RD CAUSE OF ACTION: ADA - FA|LURE TO PROV|DE
REASONABLE__ ACCOMN|ODAT|ON

61 . P|aintiff realleges the above paragraphs as if fully restated herein

62. P|aintiff was an employee of Defendants under the ADA.

63. DefendantAbsolut is a covered entity as defined by 42 U.S.C. § 12111(2).

64_ P|aintiff had medical impairments that substantially limited her major life
activities and rendered her a qualified individual with a disability entitled to
protection under the ADA, as defined by 42 U.S.C. § 12102(2) and 42
U.S.C. § 12111(8).

65. Plaintiff’s request for intermittent FlVlLA leave triggered a concurrent
request for reasonable accommodation under the ADA. Specifically, a
request for intermittent FlVll_A leave is a per se reasonable
accommodation under the ADA.

66. P|aintiff was able to perform the essential functions of her job with
reasonable accommodation

67. Defendants’ blatant refusal to grant or consider Plaintiff's request for
reasonable accommodation violated the ADA.

68.As a direct and proximate result of the Defendants’ failure to provide
reasonable accommodation |Vls. VanZile’s medical condition was
exacerbated, and she suffered physical injury, mental anguish and
emotional distress including but not limited to, depression, humiliation,
embarrassmentl stress and anxiety, loss of self-esteem and self-
confidence, and emotional pain and suffering for which she is entitled to

monetary damages and other relief.

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69.As a direct and proximate result of Defendants’ refusal to provide her with
reasonable accommodation under the ADA, le VanZile suffered and
continues to suffer, economic harm for which she is entitled to back pay,

reinstatement and/or front pay, lost benefits and other economic relief.

70.The foregoing conduct of Defendants constitutes willful violations of the
ADA for which P|aintiff is entitled to an additional amount as punitive

damages

71 . P|aintiff is also entitled to reasonable attorneys’ fees, costs and
disbursements of this action, and further legal and equitable relief as may
be appropriate under the ADA.

AS AND FOR A FOURTH CAUSE OF ACTION: ADA (FA|LURE TO ENGAGE
|N lNTERACTlVE PROCESS)

72. P|aintiff realleges the above paragraphs as if fully restated herein

73. P|aintiff was an employee of Defendants under the ADA.

74_ Defendant Absolut is a covered entity as defined by 42 U.S.C. § 12111(2).

75. P|aintiff had medical impairments that substantially limited her major life
activities and rendered her a qualified individual with a disability entitled to
protection under the ADA, as defined by 42 U.S.C. § 12102(2) and 42
U.S.C. § 12111(8).

76. Plaintiff’s request for intermittent FlVlLA leave triggered a concurrent

request for reasonable accommodation under the ADA. Specifically, a

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request for intermittent FlVlLA leave is a per se reasonable

accommodation under the ADA.

77. P|aintiff was able to perform the essential functions of herjob with

reasonable accommodation

78. Plaintiff's request for medical leave trigged an obligation on the part of

Defendants to engage in an interactive process with |Vls. VanZile to
determine a reasonable accommodation that would allow P|aintiff to

continue Working While receiving medical care.

79. Defendants engaged in no interactive process whatsoever with respect to

le. VanZile, in blatant violation of the ADA.

80.As a direct and proximate result of the Defendants’ failure to engage in the

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interactive process required by the ADA, iVls VanZile’s medical condition
was exacerbated She suffered physical injury, mental anguish and
emotional distress |V|s. VanZile also suffered depression humiliation,
embarrassment1 stress and anxiety, loss of self-esteem and self-
ccnfidence, and emotional pain and suffering for which she is entitled to

monetary damages and other relief.

.As a direct and proximate result of Defendants’ refusal to provide her With

reasonable accommodation under the ADA, lVls VanZile suffered and
continues to suffer, economic harm for which she is entitled to back pay,

reinstatement and/or front pay, lost benefits and other economic relief.

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82.The foregoing conduct of Defendants constituted Willful violations of the
ADA for which P|aintiff is entitled to an additional amount as punitive

damages

83.Plaintiff is also entitled to reasonable attorneys’ fees costs and
disbursements of this action and further legal and equitable relief as may

be appropriate under the ADA.

AS AND FOR A F|FTH CAUSE OF ACT|ON: ADA D|SPARATE TIYATMENT

84. P|aintiff realleges the above paragraphs as if fully restated herein

85. P|aintiff was an employee of Defendants under the ADA.

86. Defendant Absolut is a covered entity as defined by 42 U.S.C. § 12111(2).

87. P|aintiff had medical impairments that substantially limited her major life
activities and rendered her a qualified individual with a disability entitled to
protection under the ADA, as defined by 42 U.S.C. § 12102(2) and 42
U.S.C. § 12111(8).

88. Defendants discriminated against l\/ls. VanZile on the basis of her disability
by harassing her, denying her accommodation thwarting her request for

FlVlLA leave, and terminating her employment

89.As a direct and proximate result of the Defendants’ violation of the ADA,
|Vls. VanZile suffered physical injury, mental anguish and emotional
distress including but not limited to, depression humiliation,

embarrassment stress and anxiety, loss of self-esteem and self-

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confidencel and emotional pain and suffering for which she is entitled to

monetary damages and other relief.

90.As a direct and proximate result of the unlawful conduct in violation of the
ADA, lVls VanZile suffered, and continues to suffer, economic harm for
which she is entitled to back pay, reinstatement and/or front pay, and

other relief.

91.The foregoing conduct of Defendants constitutes willful violations of the

ADA for which P|aintiff is entitled to punitive damages

92. P|aintiff is also entitled to reasonable attorneys’ fees costs and
disbursements of this action and further legal and equitable relief as may
be appropriate under the ADA.

AS AND FOR A§|XTH CAUSE OF ACT|ON: D|SAB|LlT¥ DISCRIMINAT|ON
MW YORK HUMAN RlGHTS LAW)

93. P|aintiff realleges the above paragraphs as if fully restated herein

94.P|aintiff has a disability as defined by the provisions of the New York

Executive Law1 Section 292 (“N¥HRL”).

95. Defendant was Plaintist employer for purposes of the NYHRL.

96.Defendants discriminated against P|aintiff on the basis of her disability by
harassing her, denying her accommodation thwarting her request for

FlVlLA leave, and terminating her employment

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97.As a direct and proximate result of the Defendants’ violation of the
NYHRL, lVls. VanZile suffered physical injury, mental anguish and
emotional distress including but not limited to, depression humiliation,
embarrassment stress and anxiety, loss of self-esteem and self-
confidence, and emotional pain and suffering for which she is entitled to

monetary damages and other relief.

98.As a direct and proximate result of the unlawful conduct in violation of the
NYHRL1 |V|s. VanZile suffered and continues to suffer, economic harm for
which she is entitled to back pay, reinstatement and/or front pay, and

other relief.

99.The foregoing conduct of Defendants constitutes willful violations of the
NYHRL for which Plaintiff is entitled to an additional amount as punitive

damages

100. Plaintiff is also entitled to reasonable attorneys’ fees costs and
disbursements of this action and further legal and equitable relief as may
be appropriate under the NYHRL.

AS AN_D_FOR A SEVENTH CAUSE OF ACT|ON: NYHRL (FA|LURE TO

PROV|DE REASONABLE ACCOMMODAT|ON)
101. Plaintiff realleges the above paragraphs as if fully restated herein
102. Plaintiff was a qualified individual With a disability under the

NYHRL.

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103. Plaintiff’s request for intermittent FlVlLA leave triggered a concurrent
request for intermittent absences as a reasonable accommodation under
the NYHRL.

104. Defendant’s refusal to grant or consider Plaintiff's request for
accommodation violated the NYHRL.

105. As a direct and proximate result of the Defendants’ violation of the
NYHRL, |V|s. VanZile’s medical condition was exacerbated She suffered
physical injury, mental anguish and emotional distress including but not
limited to, depression humiliation, embarrassment stress and anxiety,
loss of self~esteem and self-confidence, and emotional pain and suffering

for which she is entitled to monetary damages and other relief.

106. Plaintiff is also entitled to reasonable attorneys’ fees costs and
disbursements of this action and further legal and equitable relief as may

be appropriate under the NYHRL.

AS AN_D_FOR AN ElGHTH CAUSE OF ACT|ON: FMLA lNDlVlDUAL LIAB|L|TY

 

 

FOR DEFENDANT SMlTH
107. Plaintiff realleges the above paragraphs as if fully restated herein
106. Defendant Smith, by virtue of her position and actions is

individua||y, and jointly and severally liable under the FlVlLA.

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AS AND FOR AN N|NTH CAUSE OF ACT|ON: ADA lNDlVlDUAL LlABlLlTY

 

 

FOR DEFENDANT SMlTH
109. Plaintiff realleges the above paragraphs as if fully restated herein
110. Defendant Smith, by virtue of her position and actions is

individually and jointly and severally liable under the ADA.
AS AND FOR AN TENTH CAUS§OF ACTION: NYHRL lNDlVlDUAL
LlABlLlTY FOR LFENDANT SMlTH
111. Plaintiff realleges the above paragraphs as if fully restated herein
112. Defendant Smith, by virtue of her position and actions is

individually, and jointly and severally liable under the NYHRL.

TRlAL BV JURY
113. Plaintiff demands a trial by jury on all claims properly triable by a
jury.
WHEREFORE, the Plaintiff respectfully requests that upon trial this Court
enter judgment against Defendants in her favor and be given the following
relief:
A. An award of the value of Plaintist lost Wages benefits bonuses and

other monetary losses;

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Reinstatement to Plaintiff's former position or front pay;
Compensatory damages

Liquidated damages

men

Punitive damages

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F. An award of reasonable attorneys’ fees expenses expert fees
disbursements and costs incurred in vindicating the rights of P|aintiff;
G. An award of pre and postjudgment interest

H. Granting such additional relief as this Court deems just and proper.

Dated: lthaca, New ¥ork
February 26, 2017

` !S_/MML
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Print This Page l Close This Window
l\lama: Lorraine E.Vanzile l DOB: 8/24/1971 l NIRN: 741643 l PCP: Angei lelalavet, lle

Letter Details

 

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June 29, 2017

LORRA]NE E VANZILE
7 SPEER DRl\/E
CORNING NY14830

RE: Vanzile, Lorraine
BN: 741643
DOB: 8/24/19?1

To Whorn it May Concern:

l am writing in regard to our patient Lorraine Vanzile, who has multiple medical problems for which
she is currently undergoing evaluation Sl'ie requires FlVlLA forms to be provided to her so that
these may be submitted on her behalf. We would greatly appreciate it if these would be supplied

to her at your earliest convenience- Testing and treatment may require her to be available during
work hours

PleElSe ClO riot hesitate to contact our office if you have any questions in regard to this matter.

Sincerely,

Kathleeri Hallinanl li/lD .E',.k; L ‘.\_ A

www.Guthria.org

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sssotur rim sr Hououro, LLC

EUPLOYEE BEAEFITAD!WLNISTMTION OFFICES
300 Gleed Avcnue Telephone: {716) 687~2658
East Aurora, NY 14052 Fax: (716) 687-2758

Date:

To the Pamily of:
Name: Lorraine VanZile

Address: 7 Speer Drive
Corning, NY 14830

Notice of Eligibility and Rights and Resportsibilities
{Pamily and Medical Leave of Abserzce)

Dear Lorraiue,

l have been notified that you have requested aa hitenuittent leave and arc unable to Work due to a medical
condition for yourself that is expected to qualify for a leave of absence under provisions of lite liamily
and Medical Leave Act. Tbis notice is to inform you that you are eligible for FMLA. Your leave has
been approved by your Ad_minisl:rator pending receipt of certification that confirms the reason for
absences for the following dates: june 29, 2017 through june 28, 2018. FMLA continues for a maximum
of twelve (12) Work Weeks during any consecutive twelve»~ (12) mouth period

Euclosed are two copies of a Menzorrzncium explaining provisions of Family and Medical l_.eave Act
Please retain one copy for your files le order for us to determine Whether your absence qualities as
Fl\/ILA, you must sign and return the second to your Human Resources Director no later than
August 2c 2017. Also enclosed is a Certt]icate officein Cru'e Proairier, eriiclr must be completed by your '
provider (plriysiciarr) and returned to your Human Resources Director no later than August 2, 2017.

You must use any credited vacation and paid personal holidays as part of the Medical Leave of
Absence, prior to being placed on unpaid leave,

While off orr leave and not receiving a company paycheck it is your responsibility to maintain your
porlio:n of any insurance you may receive tl'u‘ough a payroll deduction During your approved leave
virlulch Wil_l expire once you have used a total of 12 Weeks of FMLA leave, Absolut at Three Rivers Will
continue to pay the employer portion of your medical and/ or dental benefits as it you Were actively
employed for a total of 12 Weeks. Your Weekly premiums are as follows medical nuisance §
365.'79Weel<ly and dental insurance $5.02 Weeldy_ lt is your responsibility to pay these premiums orr a
Weel<ly basis after your last paycheck has been received Paymeuts are due on or before each
scheduled payday. Please make your diecl~: or money order payable to Absolut at Three Rivcrs LLC,
and mail to the address above, atlas Human Resources. Pailure to make timely payments may result
in loss of coverage

Our best wishes for you and your family

Sincerely,

 

